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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  BRIGHT DATA LTD.,                               §
                                                  §
                                                  §
                 Plaintiff,                       §
                                                  §
  v.                                              §    CIVIL ACTION NO. 2:19-CV-00395-JRG
                                                  §
  TESO LT, UAB, METACLUSTER LT,                   §
  UAB, OXYSALES, UAB,                             §
                                                  §
                 Defendants.                      §



              ORDER ON PRETRIAL MOTIONS AND MOTIONS IN LIMINE

        The Court held a Pretrial Conference in the above-captioned matter on Tuesday, August

 31, 2021 regarding pending pretrial motions and motions in limine (“MILs”) filed by Plaintiff

 Bright Data Ltd. (“Plaintiff” or “Bright Data”) and Defendants Teso LT, UAB, Metacluster LT,

 UAB, and Oxysales, UAB (collectively, “Defendants” or “Oxylabs”) (together with Bright Data,

 the “Parties”). (Dkt. Nos. 244, 242, 277, 237, 276, 241, 269, 240, 236, 239, 425, 371, 364, 362,

 363, 464, 467). This Order memorializes the Court’s rulings on the aforementioned pretrial

 motions and MILs as announced from the bench into the record, including additional instructions

 that were given to the Parties. While this Order summarizes the Court’s rulings as announced into

 the record during the pretrial hearing, this Order in no way limits or constrains such rulings from

 the bench. Accordingly, it is hereby ORDERED as follows:
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                                     PRETRIAL MOTIONS

 1.     Bright Data’s Motion to Strike Invalidity Opinions of Expert Michael Freedman
        (Dkt. No. 244)

        The motion was DENIED. (Dkt. No. 469 at 63:11–13).

        The Court was persuaded that Dr. Freedman did not disregard the Court’s claim

 construction and noted that the other matters raised in Bright Data’s motion are adequately

 addressed through cross examination. (Id. at 63:8–11).

 2.     Bright Data’s Motion for Partial Summary Judgment of No Invalidity of ’319 and
        ’510 Patent Claims (Dkt. No. 242)

        The Motion was DENIED. (Id. at 63:14–17).

        The Court noted that this motion was effectively controlled by the ruling on Bright Data’s

 Motion to Strike Invalidity Opinions of Expert Michael Freedman (Dkt. No. 244). Given that the

 Court declined to strike Dr. Freedman’s invalidity opinions, a fact issue remained regarding the

 validity of the ’319 and ’510 Patent claims. (See id. at 63:8–14).

 3.     Oxylabs’ Motion for Summary Judgment of Invalidity (Dkt. No. 277)

        The Motion was DENIED. (Id. at 63:18–64:2).

        The Court was persuaded that Dr. Rhyne put forth sufficient opinions to create a genuine

 issue of material fact regarding the issue of validity. To the extent that Defendants’ Motion for

 Summary Judgment of invalidity was in essence a motion to reconsider the Court’s Section 101

 ruling, the Court reaffirmed its prior denial of Defendants’ Motion for Judgment on the Pleadings

 Under Fed. R. Civ. P. 12(c) and 35 U.S.C. § 101 (Dkt. No. 210). (Id.; see also Dkt. No. 303).

 4.     Oxylabs’ Motion to Strike Expert Opinions of Dr. V. Thomas Rhyne (Dkt. No. 237)

        The motion was GRANTED-IN-PART and DENIED-IN-PART.

        For part (A) of the motion requesting the Court to preclude Dr. Rhyne from offering a

 conclusion on contributory infringement, the motion was GRANTED. (Dkt. No. 469 at 82:21–22).

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 The Court found that Dr. Rhyne’s report merely puts forward boilerplate language from Bright

 Data’s infringement contentions and failed to sufficiently opine in a reliable and specific manner

 to support a conclusion of contributory infringement. (Id. at 82:23–83:1). However, the Court

 noted that Dr. Rhyne may testify regarding whether an allegedly infringing component constitutes

 a material part of the invention but may not go beyond that limited discussion in his report. (Id. at

 83:1–4).

        For part (B) of the motion requesting the Court to preclude Dr. Rhyne from opining on

 induced infringement, the Motion was DENIED. (Id. at 83:9–10). The Court found that Dr.

 Rhyne’s conclusion of induced infringement and his discussion of third parties utilizing

 Defendants’ software was reliably sufficient to support testimony on induced infringement. (Id. at

 83:8–15; Dkt. No. 237-2 at ¶¶ 3, 111–14, 163).

        For part (C) of the motion requesting the Court to strike Dr. Rhyne’s opinions based on

 Oxylabs’ copying, the motion was DENIED. (Dkt No. 469 at 84:12–13). However, the Court

 noted that testimony regarding copying shall be limited to secondary considerations of

 non-obviousness and may not be used to support infringement theories. (Id. at 83:14–21); Allen

 Eng’g Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1351 (Fed. Cir. 2002) (noting that “[w]hile

 copying may be relevant to obviousness, it is of no import on the question of whether the claims

 of an issued patent are infringed”).

        For part (D) of the motion requesting the Court to preclude Dr. Rhyne from testifying that

 the patents-in-suit cover residential proxies, the motion was DENIED. (Dkt. No. 469 at 83:16–17).

 However, the Court instructed that Dr. Rhyne is not to opine that the claims of the patents-in-suit

 are limited to residential proxies. The Court further rejected and precluded any testimony as to

 “client device” and “server” being limited to only “residential devices.” (Id. at 83:18–84:3).



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        For part (E) of the motion requesting the Court to preclude Dr. Rhyne from testifying

 regarding secondary considerations of non-obviousness, the motion was DENIED. (Id. at

 84:4–11). The Court found that Dr. Rhyne established a sufficient nexus between the secondary

 considerations and the claimed invention. (Id. at 84:7–11).

        For part (F) of the motion requesting the Court to strike Dr. Rhyne’s opinion that “a client

 device is specifically not a server,” the motion was DENIED. (Id. at 64:3–12). The Court found

 that Dr. Rhyne does not specifically argue that a “client device is specifically not a server” in his

 report, but rather offered the opinion in his deposition. (Id. at 64:5–8; Dkt. No. 281-2 at 69:8–12).

 Consistent with his report, the Court instructed that Dr. Rhyne was not to testify before the jury

 that a client device cannot be a server. (Dkt. No. 469 at 64:10–13).

        For part (G) of the motion requesting the Court to preclude Dr. Rhyne’s opinions based on

 Bright Data’s infringement contentions, the motion was DENIED. (Id. at 84:22–85:12). The Court

 noted that while all experts must testify within the four corners of their reports, where a voluminous

 appendix is attached, but not discussed or analyzed in the body of the report, such cannot be used

 to open the door to expert testimony about the appendix before the jury. (Id. at 85:2–12).

 5.     Oxylabs’ Motion for Summary Judgment of Non-Infringement (Dkt. No. 276)

        The motion was DENIED. (Id. at 105:22–23). The Court found that Dr. Rhyne’s testimony

 was sufficient to raise a genuine issue of material fact such that summary judgment was improper.

 (Id. at 105:23–106:3).

 6.     Bright Data’s Motion to Strike Expert Testimony of Kevin Almeroth, PH.D. (Dkt.
        No. 241)

        The motion was DENIED. (Id. at 133:12).

        The Court noted that these disputes merely present a situation of dueling experts who have

 differing opinions. The expert opinions were not sufficiently erroneous or improper to warrant


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 exclusion. The jury, as factfinder, will determine which expert is more persuasive and credible.

 (Id. at 132:4–133:11).

 7.     Oxylabs’ Motion for Summary Judgment of No Indirect Infringement, Willfulness,
        or Exceptional Case (Dkt. No. 269)

        The motion was GRANTED-IN-PART and DENIED-IN-PART.

        Regarding contributory infringement, the motion was GRANTED in light of the Court’s

 prior ruling precluding Dr. Rhyne from opining on the necessary elements of contributory

 infringement. (Id. at 133:17–19).

        As to the remaining issues, the motion was DENIED. For induced infringement, the

 motion to strike was denied because the motion to strike Dr. Rhyne’s opinion on induced

 infringement was also denied. (Id. at 133:20–23). For willfulness, the inquiry is a matter of

 culpability and is determined by considering the totality of the circumstances. Halo Elecs., Inc. v.

 Pulse Elecs., Inc., 136 S. Ct. 1923, 1933 (2016); Gustafson, Inc. v. Intersystem Indus. Prods., Inc.,

 897 F.2d 508, 510 (Fed. Cir. 1990). There remain facts and circumstances yet to be decided by a

 jury that could support a willfulness finding, thus the Court declines to grant summary judgment

 declaring no willfulness. (Dkt. No. 469 at 134:1–5). Finally, the Court noted that one factor to

 consider in the inquiry for an exceptional case under 28 U.S.C. § 285 is the manner the case was

 litigated through trial. Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554

 (2014). The Court found that the determination of whether all the conduct, considering the actions

 of both sides, rises to the level of being truly exceptional is not ripe for review in advance of the

 trial. (Dkt. No. 469 at 134:9–19). Accordingly, the Court denied the motion for summary judgment

 on exceptional case status.

 8.     Bright Data’s Motion for Summary Judgment on Defendants’ Counterclaim and
        Defense of Inequitable Conduct (Dkt. No. 240)

        The motion was CARRED until after the jury trial. (Id. at 135:17–18).

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        The Court will hear Bright Data’s argument, post-verdict, regarding summary judgment of

 inequitable conduct, to the extent the issue is not mooted by the jury’s verdict.

 9.     Oxylabs’ Motion to Strike Expert Opinions of Stephen L. Becker, Ph.D. (Dkt. No. 236)

        The Motion was GRANTED-IN-PART and DENIED-IN-PART.

        The motion was DENIED as to lost profits. (Id. at 166:1–2). The Court was not persuaded

 that the challenges to the lost profits analysis warranted absolute exclusion and instead determined

 that such are questions of weight that are fairly dealt with through vigorous cross examination.

        With respect to the reasonable royalty analysis, the motion was GRANTED and the Court

 struck paragraphs 161, 162, and 184 as well as exhibits SLB-4A and SLB-4B from Dr. Becker’s

 expert report. (Id. at 166:9–12). The Court found that Dr. Becker’s reasonable royalty is not tied

 to the statutory mandate of 35 U.S.C. § 284 because it is not tied to the value of the infringing

 features as used and enjoyed by the accused infringer. However, the Court declined to strike

 paragraph 172 of Dr. Becker’s report, as Oxylabs requested.

 10.    Bright Data’s Motion to Strike Expert Testimony of Keith Ugone, Ph.D. (Dkt.
        No. 239)

        The motion was DENIED. (Id. at 174:21). The Court found that the issues raised are

 adequately addressed by vigorous cross examination and were not so flawed as to warrant

 exclusion.

 11.    Bright Data’s Motion to Strike Deposition Testimony of Colin Shribman (Dkt. No.
        425)

        The motion was CARRIED. (Id. at 176:14–15). The Court determined that the severity of

 the allegations warranted more than high-level argument or global objections related to the dispute.

 The Court instructed the Parties to submit their deposition designations and counter-designations

 along with targeted objections to each by 5:00 P.M. on September 15, 2021. (Id. at 176:14–19,



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 179:8–14, 198:19–23). The Court’s ruling as to such deposition designations and

 counter-designations shall effectively dispose of and control as to this motion to strike.

 12.    Oxylabs’ Motion for Leave to Exceed Page Limits for Replies Regarding
        Non-Infringement and Invalidity Motions for Summary Judgment (Dkt. No. 371)

        Before the pretrial conference, the Parties informed the Court that the motion was no longer

 opposed. Accordingly, the motion was not argued at the pretrial conference, and the motion is

 GRANTED-AS-AGREED.




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                                     MOTIONS IN LIMINE

         It is ORDERED that the Parties, their witnesses, and counsel shall not raise, discuss, or

 argue the following before the venire panel or the jury without prior leave of the Court:

 I.      PLAINTIFF’S MOTIONS IN LIMINE (Dkt. No. 364)

 Plaintiff’s MIL 1      Any evidence, testimony, or argument concerning Mr. Colin Shribman,
                        his relationship with Mr. Derry Shribman, communications and
                        comments made by either regarding the other, any related litigation
                        concerning Mr. Colin Shribman, and/or anything concerning Mr.
                        Colin Shribman’s employment or termination thereof.

         The MIL was CARRIED. (Dkt. No. 469 at 181:11–12).

         The Court noted that the MIL will rise and fall with (and be disposed of and controlled by)

 the Court’s ruling on deposition designations and counter-designations related to Bright Data’s

 Motion to Strike Deposition Testimony of Colin Shribman (Dkt. No. 425). (Dkt. No. 469 at

 182:11–18).

 Plaintiff’s MIL 5      Any evidence, testimony, or argument concerning any potential
                        purchase of Defendants or any other IP proxy network provider by
                        Luminati or its majority shareholder EMK Capital, including any past
                        discussions or any anticipated future negotiations.

         The MIL was GRANTED. (Id. at 190:11–12).

         The Court was not persuaded that the Plaintiff’s state of mind was relevant to the issue of

 the Defendants’ willfulness. The Court will act as a gatekeeper to oversee the use of this evidence

 to the extent that the Court is persuaded that its relevance and probative value outweighs its

 prejudicial effect.




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 Plaintiff’s MIL 7      Any evidence, testimony, or argument tending to denigrate, disparage,
                        or insult the United States Patent Office or patent system or that the
                        U. S. Patent and Trademark Office is overworked, understaffed, under
                        skilled, prone to error, or regarding the qualifications of PTO
                        examiners other than general testimony regarding the patent
                        examination process.

        The MIL was GRANTED. (Id. at 193:8–9).

        The Court noted that neither party will disparage the PTO.

 II.    DEFENDANT’S MOTIONS IN LIMINE (Dkt. No. 362)

 Defendants’ MIL 10             Any reference to or evidence concerning EMK’s purchase of
                                Luminati for an “enterprise value” of $200 million or that the
                                purchase was motivated by or valued the Asserted Patents.

        The MIL was GRANTED. (Id. at 190:19–20).

        Along with Plaintiff’s MIL 5, the Court was not persuaded of the relevance of the evidence

 and will monitor its use in the role of a gatekeeper. (Id. at 190:15–18).

 Defendants’ MIL 11             Any attempt to “bolster” the U.S. Patent & Trademark Office
                                or the Asserted Patents.

        The MIL was GRANTED. (Id. at 193:8–9).

        The Court noted that neither party will bolster the PTO.

 Defendants’ MIL 20             Any suggestion that Oxylabs’ discussions with Colin Shribman
                                violated any Israel court order or were otherwise improper.

        The MIL was CARRIED. (Dkt. No. 469 at 181:11–12).

        The Court noted that the MIL will rise and fall with (and be controlled by) the Court’s

 ruling on deposition designations and counter-designations related to Bright Data’s Motion to

 Strike Deposition Testimony of Colin Shribman (Dkt. No. 425). (Dkt. No. 469 at 182:11–18).

 III.   AGREED MOTIONS IN LIMINE (Dkt. Nos. 363, 464, 467)

        Before the pre-trial conference, the Parties filed their Joint Motion on Stipulated Motions

 in Limine requesting the Court to enter Agreed MILs 1 through 10 and their Second Joint Motion


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 on Stipulated Motions in Limine requesting the Court to enter Agreed MILs 11 through 16. (Dkt.

 Nos. 363, 464). At the pre-trial conference, Agreed MILs 1 through 16 were

 GRANTED-AS-AGREED. (Dkt. No. 469 at 180:22–24). On September 1, 2021, the Parties filed

 their Third Joint Motion on Stipulated Motions in Limine requesting the Court to enter Agreed

 MILs 17 through 36. (Dkt. No. 467). Having considered the joint motions, the Court rules that the

 following MILs are GRANTED-AS-AGREED. Without prior leave of the Court the Parties and

 the Parties’ fact and expert witnesses are precluded from mentioning or raising the following

 matters before the jury:

 Agreed MIL 1           Evidence, testimony, or argument that references or disparages the
                        nationality, race, religion, or political views of any parties or witnesses,
                        including but not limited to being or allegedly being Jews, Jewish, or
                        Russian, and are precluded from disparaging any party or witness
                        because of their location in Israel or Lithuania, or due to his or her
                        native language.

 Agreed MIL 2           Any evidence, testimony, or argument concerning the use, potential
                        use, hiring, or reliance on private investigators or litigation consulting
                        firms in this case or generally.

 Agreed MIL 3           Discovery disputes or rulings, or that discovery was provided in
                        response to such disputes or rulings.

 Agreed MIL 4           Evidence, testimony, or argument regarding pre-judgment interest.

 Agreed MIL 5           Evidence, testimony, or argument concerning the choice of venue in this
                        case.

 Agreed MIL 6           Any reference to or evidence concerning post-trial alleged damages.

 Agreed MIL 7           Disparaging an expert’s qualifications in his field of expertise, or
                        asserting or arguing that an expert is unqualified in his field of
                        expertise, or making any reference to Oxylabs’ counsel (or Oxylabs’
                        counsel’s firms or prior firms) having retained Luminati’s experts or
                        directed any of Luminati’s experts at trial.




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 Agreed MIL 8      Any evidence, testimony, or argument regarding any post-grant
                   proceeding regarding any Luminati patent before the U.S. Patent
                   Office or Patent and Trial Appeal Board, including patent inter partes
                   review, post-grant reviews, and reexaminations.

 Agreed MIL 9      Any evidence, testimony, or argument that Luminati’s patents or
                   claims are limited to aspects of preferred embodiment(s) in the
                   specification.

 Agreed MIL 10     Any evidence, testimony, or argument alleging or referring to equitable
                   issues exclusively reserved for the Court, including but not limited to
                   inequitable conduct, the propriety of an injunction, post-trial damages,
                   laches, indefiniteness, exceptional case status and related attorney’s
                   fees, enhanced damages, 35 U.S.C. § 101, or post and pre-trial interest.

 Agreed MIL 11     Testimony from experts not disclosed within their expert reports.

 Agreed MIL 12     Any evidence concerning Oxylabs not obtaining or producing an
                   opinion of counsel, unless Oxylabs opens the door as to these matters.

 Agreed MIL 13     Any reference to any previous Daubert ruling involving any of the
                   Parties’ experts.

 Agreed MIL 14     Any suggestion that the Parties suffered any damages on account of
                   previously asserted but now dismissed non-patent claims.

 Agreed MIL 15     Any reference to or purported evidence that either Party ‘hacked’ any
                   other Party.

 Agreed MIL 16     Any testimony or evidence concerning motions that were denied, or
                   claims that were dismissed by the Court.

 Agreed MIL 17     Any suggestion that Oxylabs’ reorganizations were done for any
                   improper purpose.

 Agreed MIL 18     Any reference to or evidence concerning the website
                   www.darksideofluminati.com or Oxylabs’ “Bust the Bully” prior-art
                   campaign.

 Agreed MIL 19     Any reference to or evidence concerning Oxylabs contacting former
                   Luminati employees in connection with the Tesonet case other than
                   Colin Shribman.




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 Agreed MIL 20     Any reference to or evidence concerning the past or present businesses
                   or investments of Oxylabs’ owners (other than the Oxylabs’ entities, or
                   Oxylabs’ entities to the extent they have had communications with
                   Bright Data, or Oxylabs’ entities to the extent such are discussed in an
                   otherwise relevant document).

 Agreed MIL 21     Any comparison of the invalidity burden of proof to any other type of
                   case that applies a “clear and convincing evidence” burden of proof.

 Agreed MIL 22     Any reference to or evidence concerning third-party products allegedly
                   infringing the Asserted Patents other than products of BI Science Ltd.
                   aka BI Science Inc.

 Agreed MIL 23     Any suggestion that Dr. Ugone’s reasonable-royalty opinion is
                   improper or “too low” because it is less than (i) the amount Oxylabs
                   has spent in litigation or (ii) what Dr. Ugone’s firm has charged
                   Oxylabs.

 Agreed MIL 24     Any reference to or evidence concerning this Court’s April 8, 2020
                   ruling in Tesonet concerning Oxylabs’ press releases relating to the
                   conclusion of the Tesonet case.

 Agreed MIL 25     Any reference to or evidence concerning Oxylabs’ acquisition
                   discussions or communications with BI Science.

 Agreed MIL 26     Any reference to or evidence concerning unasserted Bright Data
                   patents (other than those referenced in Bright Data’s notice letters to
                   Oxylabs).

 Agreed MIL 27     Any reference to the Trend Micro report or the Trend Micro lawsuit.

 Agreed MIL 28     Any reference to Bright Data tracking Oxylabs’ software development
                   kits (“SDKs”), applications incorporating such SDKs, and/or the
                   number of devices serving as proxies in the Accused Instrumentalities.

 Agreed MIL 29     Any reference to Microleaves other than Microleaves as a competitor.

 Agreed MIL 30     Any reference to the Illuminati.

 Agreed MIL 31     Any reference to personal lives of witnesses unrelated to business and
                   the subject matter of the instant case.

 Agreed MIL 32     The Tesonet litigation.

 Agreed MIL 33     That a party’s presence in the marketplace benefits competition by
                   reducing price or improving performance.

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 Agreed MIL 34         Any party challenging the terms of the settlement agreement or
                       arbitration award entered in the Luminati Networks Ltd. v. BI Science
                       Inc. matter.

 Agreed MIL 35         Any party’s SDK being banned, labeled as malware, or allegedly
                       stealing data.

 Agreed MIL 36         Any reference to Bright Data’s SDK partner Mobdro or negative press
                       stories about Bright Data if they are not discussed as relevant in Dr.
                       Ugone’s expert report.

        If the Parties desire to introduce any evidence or argument or otherwise raise or mention

 any of the foregoing subjects addressed by the MILs set forth herein and before the jury, they must

 first approach the bench and obtain a ruling from the Court. The above resolves all remaining

 motions in limine other than those carried by the Court regarding Colin Shribman (Plaintiff’s MIL

 No. 1 and Defendants’ MIL No. 20), which MILs will rise and fall and be controlled by the Court’s

 subsequent ruling on specific deposition designations and counter-designations from Mr.

 Shribman’s deposition in this case.

        All remaining MILs not covered hereby or otherwise addressed by the Court on the record

 are DENIED AS MOOT.




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                       DISPUTES AS TO REMAINING PRETRIAL ISSUES

               The Court ORDERED the Parties to meet and confer regarding the narrowing of

 asserted claims and defenses and to submit a joint status report by 5:00 P.M. on September 15,

 2021. (Dkt. No. 469 at 198:24–199:8). The Court also ORDERED the Parties to submit a revised

 Joint Pretrial Order by 5:00 P.M. on September 15, 2021. (Id. at 199:11–15).


        So ORDERED and SIGNED this 9th day of September, 2021.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




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